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      BROTHERS HOLDINGS INC.
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   13
                              UNITED STATES DISTRICT COURT
   14
                CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
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   16
      LEHMAN BROTHERS HOLDINGS                  Case No. CV10-07207 JAK (PJWx)
   17 INC.                                      Honorable John A. Kronstadt
                                                Honorable Patrick J. Walsh
   18          Plaintiff,
                                                SATISFACTION OF JUDGMENT
   19        vs.
   20 PMC BANCORP, f/k/a
      PROFESSIONAL MORTGAGE
   21 CORP.
   22               Defendant.
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                                     SATISFACTION OF JUDGMENT
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    1         Judgment was rendered in favor of Plaintiff Lehman Brothers Holdings Inc. and against
    2 Defendant PMC Bancorp, f/k/a Professional Mortgage Corp. in the above-captioned action on
    3 March 27, 2013, in the principal amount of $1,963,203.90 [Doc. 133] (the “Judgment”).
    4         On August 26, 2016, after receipt of payment on behalf of Defendant, Plaintiff filed a
    5 partial satisfaction of the Judgment. [Doc. 374].
    6         The Court subsequently awarded Plaintiff attorneys’ fees and costs on October 11,
    7 2017 related to enforcement and collection of the Judgment. [Doc 421].
    8         On January 23, 2018, the Court entered an Amended Order and Judgment [Doc. 423] in
    9 favor of Plaintiff and against Defendant in the principal amount of $866,416.92 (the
   10 “Amended Judgment”).
   11         Defendant paid Plaintiff on or about March 7, 2018, which payment satisfies the
   12 Amended Judgment entered in favor of Plaintiff and against Defendant.
   13         Defendant has satisfied both the Judgment and the Amended Judgment.
   14 Dated: March 8, 2018
                                                        RICHARDS CARRINGTON, LLC
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   16                                                   By: /s/ Christopher P. Carrington
                                                               Christopher P. Carrington
   17                                                          (pro hac vice)
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                                                        LEVATO LAW, LLP
   19                                                   Stephen D. Weisskopf
   20                                                   Attorneys for Plaintiff Lehman
   21                                                   Brothers Holdings, Inc.

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                                       SATISFACTION OF JUDGMENT
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    1                                          PROOF OF SERVICE

    2        I am co-counsel in this matter and am over the age of eighteen years, and not a party to the
      within action. My business address is: Richards Carrington, LLC, 1700 Lincoln Street, Suite 3400,
    3 Denver, Colorado 80203. On March 8, 2018, I served the document(s) as follows:
    4
        BY FACSIMILE: by transmitting via facsimile the document(s) listed above to the fax number(s)
    5 set forth below on this date before 5:00 p.m.

    6 X BY ELECTRONIC SERVICE: I caused such document(s) to be electronically filed in accordance
      with the electronic filing procedures of this Court; service has been effected upon the parties, whose
    7
      counsel of record is a registered participant of CM/ECF, via electronic service through the CM/ECF
    8 system.
    9      BY PERSONAL DELIVERY: by personally delivering the document(s) listed above to the
        person(s) at the address(es) as follows:
   10
          PERSONAL DELIVERY BY CAUSE: I caused said documents to be hand-delivered to the
   11
        addressee on (date**), pursuant to Code of Civil Procedure § 1011.
   12
         BY OVERNIGHT DELIVERY: by placing a true copy thereof enclosed in a sealed envelope, at a
   13 station designated for collection and processing of envelopes and packages for overnight delivery by
      UPS as part of the ordinary business practices of Richards Carrington, LLC.
   14
   15   BY U.S. MAIL: by placing the document(s) listed above in a sealed envelope with postage thereon
      fully prepaid, in United States mail in the State of Colorado at Denver, addressed as set forth in the
   16 service list below. I am readily familiar with the firm’s practice of collection and processing
      correspondence for mailing. Under that practice it would be deposited with the U.S. Postal Service on
   17 that same day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
      motion of the party served, service is presumed invalid if postal cancellation date or postage meter
   18 date is more than one day after the date of deposit for mailing in affidavit.
   19
         BY ELECTRONIC MAIL: by providing a copy of the foregoing via electronic mail to the counsel
   20 of record in this matter.

   21          I declare under penalty of perjury under the laws of the State of Colorado that the above is true
        and correct.
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   23          Executed on March 8, 2018 at Denver, Colorado.

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                                                               /s/ Christopher P. Carrington
   25                                                          Christopher P. Carrington

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                                            SATISFACTION OF JUDGMENT
